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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    BENJAMIN D. GALLOWAY, #214897
     Assistant Federal Defender
3    Designated Counsel for Service
     801 “I” Street, 3rd Floor
4    Sacramento, CA 95814

5    Attorney for Defendant
     ARTURO GONZALEZ-MORAN
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7
8                            IN THE UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                         )   NO. 2:12-CR-00432 JAM
                                                       )
12                         Plaintiff,                  )   STIPULATION AND ORDER
                                                       )   TO CONTINUE STATUS CONFERENCE
13   v.                                                )
                                                       )   DATE:        October 8, 2013
14   ARTURO GONZALEZ-MORAN and                         )   TIME:        9:45 am
     GILBERTO LORENZO LUVIO,                           )   JUDGE:       Hon. John A. Mendez
15                                                     )
                           Defendants.                 )
16                                                     )

17           IT IS HEREBY STIPULATED and agreed to between the United States of America

18   through MICHAEL McCOY, Assistant U.S. Attorney; defendant ARTURO GONZALEZ-

19   MORAN by and through his counsel, BENJAMIN GALLOWAY, Assistant Federal Defender;

20   and defendant GILBERTO LORENZO LUVIO, by and through his counsel, J. PATRICK

21   McCARTHY, that the status conference set for October 1, 2013 be vacated and a change of plea

22   hearing be set for October 8, 2013 at 9:45 a.m.

23           The reason for this continuance is to allow defense counsel additional time to review

24   discovery with the defendants, review plea agreements with the defendants, and to negotiate a

25   resolution to this matter. The parties find that the ends of justice to be served by granting a

26   continuance outweigh the best interests of the public and the defendant in a speedy trial.

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1            Based upon the foregoing, the parties agree that the time under the Speedy Trial Act
2    should be excluded from the date of signing of this order through and including October 8, 2013
3    pursuant to 18 U.S.C. §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and Local Code
4    T4 based upon continuity of counsel and defense preparation.
5    DATED:           September 26, 2013                   Respectfully submitted,
6                                                          HEATHER E. WILLIAMS
                                                           Federal Defender
7
                                                           /s/ Benjamin Galloway
8                                                          BENJAMIN GALLOWAY
                                                           Assistant Federal Defender
9                                                          Attorney for Defendant
                                                           ARTURO GONZALEZ-MORAN
10
11                                                         /s/ J. Patrick McCarthy
                                                           J. PATRICK McCARTHY
12                                                         Attorney for Defendant
                                                           GILBERTO LORENZO LUVIO
13
14   DATED:           September 26, 2013                   BENJAMIN B. WAGNER
                                                           United States Attorney
15
                                                           /s/ Michael McCoy
16                                                         MICHAEL McCOY
                                                           Assistant U.S. Attorney
17                                                         Attorney for Plaintiff
18
19                                              ORDER
20           UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
21   October 1, 2013, status conference hearing be vacated and a change of plea hearing be set for
22   October 8, 2013, at 9:45 a.m. Based on the representation of defense counsel and good cause
23   appearing there from, the Court hereby finds that the failure to grant a continuance in this case
24   would deny defense counsel reasonable time necessary for effective preparation, taking into
25   account the exercise of due diligence. The Court finds that the ends of justice to be served by
26   granting a continuance outweigh the best interests of the public and the defendant in a speedy
27   trial. It is ordered that time up to and including the October 8, 2013 change of plea hearing shall
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      United States v.End of Formulaited
                       Gonzalez-Moran, et. al        -2-
      Stipulation and Order
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1    be excluded from computation of time within which the trial of this matter must be commenced
2    under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T-
3    4, to allow defense counsel reasonable time to prepare.
4    DATED: September 26, 2013
5                                                         /s/ John A. Mendez                 ____
                                                          HON. JOHN A. MENDEZ
6                                                         United States District Court Judge
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      United States v.End of Formulaited
                       Gonzalez-Moran, et. al       -3-
      Stipulation and Order
